                              Case 2:04-cr-00004-MCE Document 66 Filed 09/07/05 Page 1 of 2


                         1

                         2

                         3

                         4

                         5

                         6

                         7

                         8                        UNITED STATES DISTRICT COURT
                         9                       EASTERN DISTRICT OF CALIFORNIA
                       10                              SACRAMENTO DIVISION
                       11

                       12     UNITED STATES OF AMERICA,
                                                                        CR. S 04-0004 MCE
                       13                Plaintiff,
                                                                        JOINT STIPULATION AND
                       14          v.                                   ORDER TO CONTINUE HEARING
                       15     DAVID DEAN DAVIDSON and                   Date: September 6, 2005
                              CYNTHIA BARCELO BLAKE,                    Time: 8:30 a.m.
                       16                                               Judge: England
                                         Defendants.
                       17                                     /
                       18          THE PARTIES HEREBY STIPULATE AND AGREE that the status
                       19     conference now scheduled for September 6, 2005, at 8:30 a.m.,
                       20     shall be continued to September 20, 2005, at 8:30 a.m. for an
                       21     anticipated change of plea.      The parties are still actively
                       22     working toward a final disposition in this matter, and require
                       23     additional time.
                       24          Both defense counsel have a conflict on September 6, 2005,
                       25     due to a morning hearing in federal court, U.S. vs. Fred
                       26     Delgado.
                       27          The parties further stipulate and agree that pursuant to
PIER 5 LAW OFFICES
   5 0 6 BR O A D WA Y
   S A N FR A N C IS C O
                         28   the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(A) & (B)(iv), time
     (415) 986-5591
  FAX: (415) 421-1331

                                                                  1
                              Case 2:04-cr-00004-MCE Document 66 Filed 09/07/05 Page 2 of 2


                         1    is excluded from September 6, 2005, to September 20, 2005, to
                         2    allow continuity of counsel and reasonable time for counsel
                         3    effectively to prepare.
                         4
                              /s/MATTHEW STEGMAN                      /s/SHARI L. GREENBERGER
                         5    MATTHEW STEGMAN                         SHARI L. GREENBERGER
                              Assistant U.S. Attorney                 Attorney for CYNTHIA BLAKE
                         6    Dated: September 1, 2005                Dated: September 1, 2005
                         7

                         8
                              /s/OMAR FIGUEROA
                         9    OMAR FIGUEROA
                              Attorney for DAVID DAVIDSON
                       10     Dated: September 1, 2005
                       11

                       12                               IT IS SO ORDERED.
                       13     Dated: September 6, 2005
                       14

                       15
                                                                _____________________________
                       16
                                                                MORRISON C. ENGLAND, JR
                       17                                       UNITED STATES DISTRICT JUDGE

                       18

                       19

                       20

                       21

                       22

                       23

                       24

                       25

                       26

                       27
PIER 5 LAW OFFICES
   5 0 6 BR O A D WA Y
   S A N FR A N C IS C O
                         28
     (415) 986-5591
  FAX: (415) 421-1331

                                                                  2
